         Case 4:19-cv-07123-PJH Document 185 Filed 05/08/23 Page 1 of 3




 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Craig T. Cagney
 3    (admitted pro hac vice)
     DAVIS POLK & WARDWELL LLP
 4   450 Lexington Avenue
     New York, New York 10017
 5   Telephone: (212) 450-4000
     Facsimile: (212) 701-5800
 6
     Email: greg.andres@davispolk.com
 7            antonio.perez@davispolk.com
              craig.cagney@davispolk.com
 8
     Micah G. Block (SBN 270712)
 9   DAVIS POLK & WARDWELL LLP
     1600 El Camino Real
10   Menlo Park, California 94025
     Telephone: (650) 752-2000
11
     Facsimile: (650) 752-2111
12   Email: micah.block@davispolk.com

13   Attorneys for Plaintiffs WhatsApp LLC and
     Meta Platforms, Inc.
14

15                                     UNITED STATES DISTRICT COURT

16                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

17                                              OAKLAND DIVISION

18   WHATSAPP LLC, and
                                       )                         Case No. 4:19-cv-07123-PJH
     META PLATFORMS INC.,              )
19
                                       )
                     Plaintiffs,       )                         ADMINISTRATIVE MOTION TO
20
                                       )                         REMOVE AND FOR LEAVE TO FILE
21          v.                         )                         UNDER SEAL INCORRECTLY FILED
                                       )                         DOCUMENT: DKT. NO. 182-1
22                                     )
     NSO GROUP TECHNOLOGIES LIMITED )
     and Q CYBER TECHNOLOGIES LIMITED, )
23
                                       )
                     Defendants.       )
24
                                       )
25

26
27

28

     ADMINISTRATIVE MOTION TO REMOVE AND FOR LEAVE TO FILE UNDER SEAL INCORRECTLY FILED DOCUMENT
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 185 Filed 05/08/23 Page 2 of 3




 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rule 7-11,

 3   Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) respectfully move this Court for

 4   an Order to remove Docket No. 182-1 from the ECF docket on the grounds that it was incorrectly

 5   filed, and permitting them to file the same document under seal.

 6           Docket No. 182-1 was submitted electronically on April 24, 2023 by Plaintiffs. Docket No.

 7   182-1 contains a document that is governed by the August 31, 2020 Stipulated Protective Order

 8   (Dkt. No. 132), and that was inadvertently filed without redaction. Plaintiffs have already contact-

 9   ed the ECF Help Desk regarding this issue, and the ECF Help Desk has temporarily locked Docket

10   No. 182-1.

11           Plaintiffs request that the document, which is attached as Exhibit A to the concurrently filed

12   Declaration of Antonio J. Perez-Marques in support of this motion, instead be filed under seal pur-

13   suant to Civil Local Rules 79-5(c) and (d) because it refers to materials that have been designated

14   as “Highly Confidential – Attorney’s Eyes Only” by Defendants pursuant to the August 31, 2020

15   Stipulated Protective Order (Dkt. No. 132) in the above-captioned action, and Defendants have

16   sought leave to file those materials, and all references to those materials, under seal (Dkt. No. 179).

17   Plaintiffs take no position as to whether the designated documents satisfy the requirements for seal-

18   ing, and specifically reserve the right to challenge any confidentiality designations as well as the
19   sealability of the documents at issue.

20           Plaintiffs intend to file a public redacted version of Docket No. 182-1 upon receiving from

21   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited identification of

22   any portion of Docket No. 182-1 that NSO seeks to seal. See N.D. Cal. Civil L. R. 79-5(f).

23           For the foregoing reasons, Plaintiffs respectfully request that the Court grant this motion,

24   remove the above-listed docket entry from the docket, and seal the version attached hereto as Ex-

25   hibit A.

26           The Administrative Motion is based on this Notice of Motion, the concurrently filed Decla-
27   ration of Antonio J. Perez-Marques in support of this motion, and the [Proposed] Order.

28
                                                              1
     ADMINISTRATIVE MOTION TO REMOVE AND FOR LEAVE TO FILE UNDER SEAL INCORRECTLY FILED DOCUMENT
     CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 185 Filed 05/08/23 Page 3 of 3




 1   Dated: May 8, 2023                                  Respectfully Submitted,

 2                                                       DAVIS POLK & WARDWELL LLP
 3
                                                         By: /s/ Antonio J. Perez-Marques
 4                                                           Greg D. Andres
 5                                                           Antonio J. Perez-Marques
                                                             Craig T. Cagney
 6                                                             (admitted pro hac vice)
                                                             DAVIS POLK & WARDWELL LLP
 7                                                           450 Lexington Avenue
                                                             New York, New York 10017
 8
                                                             Telephone: (212) 450-4000
 9                                                           Facsimile: (212) 701-5800
                                                             Email: greg.andres@davispolk.com
10                                                                   antonio.perez@davispolk.com
                                                                     craig.cagney@davispolk.com
11
                                                                  Micah G. Block (SBN 270712)
12
                                                                  DAVIS POLK & WARDWELL LLP
13                                                                1600 El Camino Real
                                                                  Menlo Park, California 94025
14                                                                Telephone: (650) 752-2000
                                                                  Facsimile: (650) 752-2111
15                                                                Email: micah.block@davispolk.com
16
                                                                  Attorneys for Plaintiffs WhatsApp LLC and
17                                                                Meta Platforms, Inc.

18
19

20

21

22

23

24

25

26
27

28
                                                              2
     ADMINISTRATIVE MOTION TO REMOVE AND FOR LEAVE TO FILE UNDER SEAL INCORRECTLY FILED DOCUMENT
     CASE NO. 4:19-CV-07123-PJH
